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                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      EL PAPEL LLC, et al.,
                                                             CASE NO. 2:20-cv-01323-RAJ-JRC
11                             Plaintiffs,
                                                             ORDER GRANTING PLAINTIFFS’
12              v.                                           UNOPPOSED MOTION TO FILE
                                                             CONSOLIDTED REPLY IN
13      JAY INSLEE, et al.,                                  EXCESS OF PAGE LIMITS
14                             Defendants.

15          This matter is before the undersigned on plaintiffs’ unopposed motion to file an

16   overlength, consolidated reply brief to defendants’ responses (see Dkts. 27, 28) to the motion for

17   preliminary injunction (Dkt. 16). See Dkt. 39.

18          Having considered plaintiffs’ motion, and finding good cause, plaintiffs’ motion (Dkt.

19   39) is hereby GRANTED. Plaintiffs’ consolidated reply brief in support of the motion for

20   preliminary injunction (Dkt. 16) shall not exceed 18 pages.

21          Dated this 20th day of October, 2020.

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23
                                                          A
                                                          J. Richard Creatura
                                                          United States Magistrate Judge
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     ORDER GRANTING PLAINTIFFS’ UNOPPOSED
     MOTION TO FILE CONSOLIDTED REPLY IN
     EXCESS OF PAGE LIMITS - 1
